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                           UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

FROST SOLUTIONS, LLC,                                  )
                                      Plaintiff,       )
       v.                                              )     Case No.: 1:22-cv-06910
                                                       )     JURY DEMANDED
CORY MOORE,                                            )
                                      Defendant.       )

            PLAINTIFF’S RESPONSE TO DEFENDANT’S MOTION TO COMPEL

       1.      Defendant first takes issue with Plaintiff’s answers to interrogatories 3, 7, 8, 9 and

request for production number 24. As it relates to interrogatory number 3, Plaintiff cannot know

what specific trade secrets were disclosed to each individual customer without further discovery

on the Defendant’s communication with those customers, which is the subject of Plaintiff’s

motion to compel. Plaintiff does know by the Defendant’s admissions and discussion with

customers that the Defendant likely disclosed information about the Plaintiff that would

otherwise be protected. However, discovery from Moore and third parties is needed to give more

specific information about what was disclosed. As it related to interrogatory 7, 8 and 9, Plaintiff

has identified the trade secrets at issue and the basis for the allegations referenced. They are

bullet pointed in the Plaintiff’s supplemental answers. (Ex. 1, Plaintiff’s Supplemental Answers

to Defendant’s Interrogatories, 1/19/24).    Finally, request for production number 24 has been

responded to with lost customers and the basis for losing those customers has been identified as

Moore’s improper actions.

       2.      Next, the Defendant takes issue with Plaintiff’s response to interrogatory number

5 and request for production number 2. Defendant’s position here is confusing as Plaintiff did



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respond giving the resignation dates for Baglien and Larue and the other employees that resigned

after October 1, 2021. Apparently, the Defendant now wants to expand its request seeking the

exact resignation dates for all other employees. The fact that the employees resigned after

October 1, 2021 should be sufficient and the exact date of resignation seems immaterial for the

defense as it relates to the other employees identified who had no significant management role

with the Plaintiff.

        3.      Defendant then takes issue with Plaintiff’s answers to interrogatory number 6 and

request for production number 23 that both requests support that Moore received an economic

benefit. Plaintiff sets forth in detail the customers lost due to Moore’s alleged actions and that

any customer that left the Plaintiff and went to Moore’s company evidences an economic benefit.

This should be sufficient to show Moore’s economic benefit.

        4.      As it relates to interrogatory number 3 and production request number 7, Plaintiff

does not see how any information relating to the acquisition of Frost is likely to lead to the

discovery of any admissible evidence. Plaintiff’s claims relate to the Defendant’s actions after the

acquisition. To seek information regarding the acquisition itself amounts to a fishing expedition.

        5.      Defendant takes issue with Plaintiff’s response to request for production number

8. Plaintiff has produced all information it has relating to the customer complaints. This company

was acquired by Plaintiff’s current owners and they have made significant efforts to search all

databases.

        6.      Regarding requests 11 and 22, Plaintiff has produced all documents in its

possession relating to the measures to safeguard its trade secrets and responded to the

interrogatory outlining the measures taken. Plaintiff has no further information at this time.

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       7.      Addressing production request number 19, Plaintiff has produced all documents

in its possession relating to the Defendant’s compensation while working for the Plaintiff. Not

only do they have nothing further to produce, the Defendant should have any documents relating

to his compensation in his own possession.

       8.      Finally, request to produce number 25 as stated undoubtedly would invade the

attorney-client privilege. Plaintiff stands by its objection and requests this Court deny any relief.

       WHEREFORE, the Plaintiff, FROST SOLUTIONS, LLC, respectfully requests that this

Honorable Court deny Defendant’s Motion to Compel.

 Amir R. Tahmassebi (6287787)                        Respectfully submitted,
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on April 5, 2024, I electronically filed the foregoing PLAINTIFF’S

RESPONSE TO DEFENDANT’S MOTION TO COMPEL using this Court’s EM/ECF service

which will provide copies to all counsel of record registered to receive CM/ECF notification.




                                                    /s/ Amir R. Tahmassebi




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